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                                                                                             United States District Court
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